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 5   Attorney for Defendant,
     RICARDO FABIAN SALINAS
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 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                )     Case No. 1:12-CR-00213 AWI-BAM
                                              )
11          Plaintiff,                        )      STIPULATION TO SET HEARING
                                              )      FOR CHANGE OF PLEA
12               v.                           )      AND ORDER THEREON
                                              )
13   RICARDO FABIAN SALINAS,                   )     DATE: May 6, 2013
                                              )      TIME: 10:00 a.m.
14                                            )      Courtroom Two
             Defendant.                       )
15                                            )     HONORABLE ANTHONY W. ISHII
16
17          Defendant, RICARDO FABIAN SALINAS, through his counsel, John F. Garland and the
18   United States of America, through its counsel, Benjamin B. Wagner, United States Attorney and
19   Kirk E. Sherriff, Assistant United States Attorney, hereby stipulate to set a hearing for the
20   defendant’s Change of Plea on May 6, 2013 at 10:00 a.m. before Senior United States District
21   Judge Anthony W. Ishii.
22
23
24   Dated: April 24, 2013                                      /s/ John F. Garland
                                                                 John F. Garland
25                                                           Attorney for Defendant
                                                          RICARDO FABIAN SALINAS
26
27   ///
28   ///


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 1
 2   Dated: April 24, 2013                                     Benjamin B. Wagner
                                                               United States Attorney
 3
 4                                                            /s/ Kirk E. Sherriff
                                                       By:     KIRK E. SHERRIFF
 5                                                            Assistant U.S. Attorney
 6
 7
 8                                       ORDER
 9         GOOD CAUSE APPEARING, based on the stipulation of the parties,
10   IT IS HEREBY ORDERED that a Change of Plea hearing for defendant RICARDO FABIAN
11   SALINAS is set on May 6, 2013 at 10:00 a.m.
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14   IT IS SO ORDERED.
15
     Dated:   April 25, 2013
16   0m8i78                                                  SENIOR DISTRICT JUDGE
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